                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

USA                                              §
                                                 §
vs.                                              §     NO: SA:22-CR-00366(1,3,4,6,7)-OLG
                                                 §
(1) HOMERO ZAMORANO JR.                          §
(3) RILEY COVARRUBIAS-PONCE                      §
(4) FELIPE ORDUNA-TORRES                         §
(6) LUIS ALBERTO RIVERA-LEAL                     §
(7) ARMANDO GONZALES-ORTEGA                      §

                       ORDER GRANTING CONTINUANCE
                      AND AMENDING SCHEDULING ORDER

       The matters before the court is Defendant’s Unopposed Motion for Continuance filed

November 3, 2023 and November 28, 2023 [dkt. #185 & 187] , after reviewing the unopposed

motion, it is the opinion of the Court that the unopposed motion should be granted and that the

trial in this case should be and is continued.

         The Court further finds that the period between January 16, 2024 and March 11, 2024,

is a reasonable period of necessary delay to allow counsel time for preparation for trial and

further finds that such period shall be excluded from the time within which the defendant must

be brought to trial and that the ends of justice served by taking such action outweighs the best

interest of the public and the defendant in a speedy trial under the Speedy Trial Act pursuant to

Title 18, United States Code, Section 3161(h)(7)(A).

       This case shall proceed on the following amended schedules:

       Pursuant to Federal Rules of Criminal Procedure 11(c) and the holding of the Fifth

Circuit Court of Appeals in United States of America v. Ellis, 547 F.2d 863 (5th Cir. 1977), the
deadline for notifying the Court of any plea bargain or plea agreement entered into by the

parties in this cause is Thursday, February 29, 2024. The Court will not accept a plea

agreement after the aforementioned deadline. Should a plea agreement be reached and filed in

this case and absent written objection filed contemporaneously therewith, this case will be

referred to a United States Magistrate Judge for the purpose of administering the plea of guilty

and the Fed. R. Crim. P. 11 allocution, subject to final approval and the imposition of sentence

by the United States District Court.

                               PRETRIAL MATTERS

        Motions in Limine, witness lists, exhibit lists, and agreed stipulations as to certain

elements or facts, if any, shall be filed Thursday, February 29, 2024. Responses to motions in

limine, proposed jury instructions, and proposed voir dire shall be filed Monday, March 04,

2024.

        In order to conduct a more efficient and expeditious trial, counsel is encouraged to

exchange exhibits within a reasonable period but no later than seven (7) days prior to the pretrial

conference. Once counsel has provided opposing counsel with proposed exhibits, authentication

of the exhibit will be presumed unless opposing counsel notifies the offering party in writing

within three (3) days after the exhibit is listed and made available. To the extent that counsel

intend to raise objections concerning the admissibility of exhibits, such objections must be made

at the pretrial conference or at least three (3) business days before trial by notifying the Court in

writing of the evidentiary disputes with copies of the disputed exhibit and authority attached to

the written objection. Counsel should also advise the Court of any anticipated objections to

witness testimony at the pretrial conference or at least three (3) business days prior to trial.
         Pretrial Conference is reset for Thursday, February 29, 2024 at 10:30 a.m. in

Courtroom C, on the Second Floor of the United States Courthouse, 262 W. Nueva Street, San

Antonio, Texas 78207.

         Jury selection and trial are reset for March 11, 2024 at 9:30 a.m. in Courtroom C, on the

Second Floor of the United States Courthouse, 262 W. Nueva Street, San Antonio, Texas 78207.

         IT IS FURTHER ORDERED that the Clerk of the Court shall send a

copy of this order to counsel for the defendant, the United States Attorney, the

United States Pretrial Services and the United States Probation Office. Counsel

for the defendant shall also notify the defendant of this schedule and advise the

defendant that he must be present for all court proceedings unless excused by the

Court.
             All inquiries pertaining to the above-mentioned schedule should be directed to Tyler

Martin, Courtroom Deputy at (210) 244-5020, or email: Tyler_Martin@txwd.uscourts.gov.

   Signed this 29th day of November, 2023
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                                                ORLANDO L. GARCIA
                                                UNITED STATES DISTRICT JUDGE
